             Case 2:20-cv-04093-JAK-PLA Document 28 Filed 08/11/20 Page 1 of 3 Page ID #:718


            1    SCOTT A. EDELMAN, SBN 116927
                  sedelman@gibsondunn.com
            2    THEODORE J. BOUTROUS JR., SBN 132099
                   tboutrous@gibsondunn.com
            3    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            4    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            5    Facsimile: 213.229.7520
            6    ANNE CHAMPION (admitted pro hac vice)
                  achampion@gibsondunn.com
            7    GIBSON, DUNN & CRUTCHER LLP
                 200 Park Avenue, 48th Floor
            8    New York, NY 10166
                 Telephone: 212.351.5361
            9    Facsimile: 212.351.5281
          10     KATIE TOWNSEND, SBN 254321
                   ktownsend@rcfp.org
          11     JENNIFER A. NELSON (admitted pro hac vice)
                   jnelson@rcfp.org
          12     The Reporters Committee for
                 Freedom of the Press
          13     1156 15th Street NW, Suite 1020
                 Washington, D.C. 20005
          14     Telephone: 202.795.9300
                 Facsimile: 202.795.9310
          15     Attorneys for Defendant IP Video Market Info Inc.
          16
                                              UNITED STATES DISTRICT COURT
          17                                 CENTRAL DISTRICT OF CALIFORNIA
          18     ROYAL HOLDINGS                                  CASE NO. 2:20-cv-4093-JAK-PLA
          19     TECHNOLOGIES CORP. D/B/A                        DEFENDANT’S OPPOSED MOTION
                 X.LABS, a Delaware corporation,                 FOR LEAVE TO FILE A
          20                                                     MEMORANDUM OF POINTS AND
                                Plaintiff,                       AUTHORITIES IN EXCESS OF PAGE
          21                                                     LIMIT
                       v.
          22                                                     Action Filed: May 4, 2020
                 IP VIDEO MARKET INFO INC., a                    Judge: Hon. John Kronstadt
          23
                 Hawaii corporation,
          24
                                Defendant.
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP

                            DEFENDANT’S MOTION FOR LEAVE TO FILE OPPOSITION IN EXCESS OF PAGE LIMIT
             Case 2:20-cv-04093-JAK-PLA Document 28 Filed 08/11/20 Page 2 of 3 Page ID #:719


            1          Defendant IP Video Marketing Info Inc. (“IPVM”), by and through counsel,
            2
                 files this Motion for Leave to File a Memorandum of Points and Authorities In Excess
            3
            4    of Page Limit with respect to Defendant’s anticipated Notice of Motions and Special

            5    Motion to Strike Complaint Pursuant to Cal. Civ. Proc. Code § 425.16 and Motion to
            6
                 Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6), and would respectfully show the Court
            7
            8    the following:
            9          1.       Per Your Honor’s standing order for civil cases, memoranda of points and
          10
                 authorities shall not exceed 25 pages. Defendant requests leave of Court to exceed the
          11
          12     page limitation by five pages, bringing the total number of pages to 30. Defendant
          13     respectfully represents that the length of the proposed filing will not exceed 30 pages
          14
                 and will be concisely argued.
          15
          16           2.       Defendant intends to file a Special Motion to Strike Plaintiff’s Complaint
          17     pursuant to California Civil Procedure Code § 425.15 (California’s anti-SLAPP law)
          18
                 as well as a Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) on
          19
          20     or before August 26, 2020. Defendant will file a single memoranda of points and
          21     authorities in support of both motions.
          22
                       3.       Good cause exists for granting Defendant’s motion for leave. Plaintiff has
          23
          24     alleged nine separate causes of action against Defendant, including claims under state
          25     and federal law. Further, after Defendant filed a combined motion to strike and
          26
                 dismiss Plaintiff’s original complaint, and before Plaintiff responded to that motion, on
          27
          28

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Crutcher LLP                                                  1
                            DEFENDANT’S MOTION FOR LEAVE TO FILE OPPOSITION IN EXCESS OF PAGE LIMIT
             Case 2:20-cv-04093-JAK-PLA Document 28 Filed 08/11/20 Page 3 of 3 Page ID #:720


            1    July 23, 2020, Plaintiff filed a First Amended Complaint totaling 112 pages (228 pages
            2
                 with exhibits).
            3
            4          4.       Given that Defendant seeks relief pursuant to two concurrently-brought

            5    motions, and given that Plaintiff’s Amended Complaint adds 63 new pages of new
            6
                 material to the pleading, Defendant respectfully requests five additional pages to
            7
            8    respond to and address the claims in Plaintiff’s Amended Complaint.
            9          5.       Defendant has conferred with Plaintiff regarding this motion, and Plaintiff
          10
                 is opposed to the relief requested.
          11
          12                                           CONCLUSION
          13           Defendant respectfully requests that the Court grant it leave to exceed Your
          14
                 Honor’s page limitations for Defendant’s memoranda of points and authorities in
          15
          16     support of its forthcoming Special Motion to Strike Complaint Pursuant to Cal. Civ.
          17     Proc. Code § 425.16 and Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6).
          18
          19
          20     DATED: August 11, 2020
          21                                                      Respectfully submitted,
          22
                                                                  GIBSON, DUNN & CRUTCHER LLP
          23
          24                                                      By: /s/ Scott Edelman
                                                                         Scott Edelman
          25
          26                                                      Attorneys for Defendant
          27
          28

Gibson, Dunn &
Crutcher LLP                                                  2
                            DEFENDANT’S MOTION FOR LEAVE TO FILE OPPOSITION IN EXCESS OF PAGE LIMIT
